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                DECLARATION OF LUIS ALBERTO CASTILLO RIVERA

I, Luis Alberto Castillo Rivera, hereby declare under penalty of perjury pursuant to 28 U.S.C. §
1746 that the following is true and correct.

   1. I make this declaration based on my own personal knowledge, and if called to testify, I
      could and would do so competently and truthfully to these matters.

   2. My name is Luis Alberto Castillo Rivera. I am 30 years old and from Venezuela. I am a
      plaintiff in Las Americas v. Noem, Case No. 1:25-cv-00418 (D.D.C.). I joined that case to
      seek access to attorneys while I was detained at the U.S. military base at Guantánamo
      Bay, Cuba.

   3. I entered the United States on January 19, 2025, with a CBP One appointment. Despite
      following the legal process and having family in the United States, I was detained and
      never given a chance to see a judge or present my asylum case. I was detained at the El
      Paso Processing Center for barely two weeks and did not get to fight my case.

   4. The night of February 3, 2025, while I was praying, my name was called and I was told
      to pack my things. I called my wife because I thought I was being released. Instead, I was
      transferred with nine other people onto a military plane. Before boarding, officers took
      multiple photos of us, focusing on our tattoos.

   5. I was not told where we were going, just that we were going to be transferred to another
      prison before being deported. As I learned much later, during the one and only time I got
      to talk to a lawyer while detained, I was taken to Guantánamo Bay, Cuba, and held in a
      prison known as Camp 6.

   6. Each of the people in Camp 6 were held in a very small cell without a window. The cells
      were almost entirely enclosed wall-to-wall, except for a piece of glass on the door to see
      into the building. My cell contained a thin mattress, a blanket, sink, and toilet. It felt like
      a basement. Military officers guarded us at all times.

   7. The conditions at Guantánamo were unbearable. Within the first three days, we began a
      hunger strike, in part because the food was inedible and made many of us sick and in part
      because we wanted to receive more information from the ICE officers about why were
      being held in these conditions. After our strike, the meals slightly improved but it was
      still insufficient, and we were all hungry. We were told that because more detainees were
      arriving, there was less food for everyone. I ended up losing a significant amount of
      weight over the two weeks that I was detained at Guantánamo. I am much skinnier now
      than when I arrived at Guantánamo.

   8. When I was detained in Texas, I was never placed into solitary confinement. I was able to
      move around freely within the dormitory. I was able to go out to the yard to play sports
      with other detainees, I was able to use the tablets to speak with my family and I was able
      to pray freely. At Guantánamo, we were locked in our cells for at least 23 hours a day,
      with only one hour every couple days “outside” for “recreation.” Even during that time,
      each person was put into a cage within a larger cage inside an enclosed area. This was the
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   closest to seeing the sun we would get. We were not allowed to interact with one another
   even during “recreation.” In our cells, we had to try shouting through the doors to
   communicate, and even then the guards would forcefully hit the doors or talk over us
   very loudly so that we could not hear one another.

9. Anytime we left our cells, we were always shackled. Three guards would enter the cell,
   push us against the wall, pat us down, and place chains on our hands before leading us
   out. They would do a pat-down search on us every time we showered.

10. It was very hot inside the building during the day. There were lots of mosquitos and the
    light was constantly on. Because we were not fed enough or allowed to do anything, we
    lost track of time. It felt like hell, being isolated from the world and stuck in those
    conditions.

11. The medical care available was grossly inadequate, which was frightening because if any
    of us had a serious medical issue, there would be no real help. I have a leg injury from a
    motorcycle accident that has not fully healed. I have an abscess in my gluteal muscles
    that has previously caused me significant pain, swelling and bleeding. I was previously
    told I needed surgery. When I was detained in El Paso, my injury was not bothering me
    so much because I was able to move freely, to stretch and walk around. But in
    Guantánamo, when I was held in a cell for 23 hours a day, my injury began to swell and
    become very painful. When I asked for treatment, they said they did not have the right
    tools to help me and that they were waiting for those tools. Later, after I asked again for
    treatment, they told me there was nothing they could do for me besides offer a topical
    cream, which was very frustrating because they had previously told me that they were
    waiting on appropriate tools to provide adequate treatment.

12. The guards were needlessly cruel. When we asked for necessities, they would mock us or
    say that it was not possible. It took multiple requests before they returned the Bible I had
    brought with me. I also repeatedly asked to speak with an ICE officer, but the military
    guards told me that ICE was not available and would come later.

13. I even witnessed physical violence against other detainees. One man, who we called “El
    Enano,” was beaten by an officer for refusing to return a toothbrush. The officer hit him
    hard on his hand with a radio. I believe his hand was fractured, but I do not know if he
    received medical treatment. For two days after the incident with the radio, the guards
    would not give “El Enano” water to drink. Several times he asked for water, and I even
    asked the guards to give him water as well, but the guards would just laugh and refuse the
    request.

14. I was denied any communication with the outside world. I asked multiple times to speak
   with my attorney and my family. After my one call on February 17 with the ACLU, I
   knew I had attorneys working on my case and trying to help me, but I was told it was not
   possible to make a call. I also begged the officers to speak to my family. My wife lives in
   the United States with our 9 year old son. I told the officers, “You must have a family,
   you must have a child,” and I asked them to have some compassion. All they say is that it
   is not possible to make calls.
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   15. The night of February 19, officials slipped a piece of paper under our doors informing us
       of our right to an attorney and providing a phone number. However, they told us it did not
       matter because we would be deported soon and there was nothing we could do.

   16. Just hours later, at 3:00 a.m. on February 20, we were taken from our cells, shackled, and
       loaded onto a deportation flight to Venezuela via Honduras. One man asked for his
       passport back, but while they returned his other possessions, they refused to give him his
       passport, saying they would send it later.

   17. Compared to where I was previously detained in the United States, the conditions at
       Guantánamo were much worse. In El Paso, I was held in a larger area with around 80
       other detainees of different nationalities. We were not isolated, and we had access to
       things like chess, soap, daily showers, and electronic tablets we could use to
       communicate with the outside world. At Guantánamo, we were treated like animals and
       terrorists.

   18. My detention at Guantánamo changed me. The isolation, the deprivation, the denial of
       legal help and medical care, it broke us down. We are asylum seekers, not criminals, yet
       we were treated as if we were dangerous. We are fathers, we have families, and we are
       humans. Yet, the U.S. government took us to a military base, cut us off from the world,
       and deported us without allowing us to fight for our rights.

   19. What happened at Guantánamo was inhumane. No one should be subjected to this kind of
       treatment.

   20. Because I am currently in transit through Venezuela and without stable internet
       connection, I could not sign this declaration myself but gave consent to Talia Roma to
       sign on my behalf.



Executed on the 27th day of February, 2025.



/s/ Luis Alberto Castillo Rivera

Luis Alberto Castillo Rivera
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                 ATTESTATION AND CERTIFICATE OF TRANSLATION

       I, Talia Roma, certify that I am fluent in both English and Spanish. On February 27, 2025,

I personally spoke with Luis Alberto Castillo Rivera and read the foregoing declaration to him,

translated into Spanish faithfully and accurately, over the phone. Mr. Castillo affirmed that he

understood my translation and that the information in the above declaration is true and accurate.

       Due to Mr. Castillo being currently in transit in Venezuela, it was not possible to obtain a

written signature on the above declaration. In addition to confirming that the information in the

above declaration is true, Mr. Castillo also gave me verbal consent to sign on his behalf.

       I declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing is true

and correct.



_______________________________
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